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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                          )
                                                  )
                         v.                       )   Criminal No. 12-30034:002-MAP
                                                  )
RAFAEL BELEN,                                     )
                                 Defendant        )

                               REPORT AND RECOMMENDATION
                                CONCERNING PLEA OF GUILTY

        Defendant, by consent, has appeared before me pursuant to Rule 11, Fed. R.

Crim. P., and Rule 5 of the Rules for United States Magistrates in the District of

Massachusetts, and has entered a plea of guilty to Count I of the Information. After

cautioning and examining Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was knowledgeable and

voluntary and that the offenses charged are supported by an independent basis in fact

establishing each of the essential elements of such offenses. I therefore recommend

that the plea of guilty be accepted and that Defendant be adjudged guilty and have

sentence imposed accordingly.1

DATED: August 24, 2012
                                                           /s/ Kenneth P. Neiman
                                                          KENNETH P. NEIMAN
                                                          U.S. Magistrate Judge




        1
            Defendant is hereby advised that, under the provisions of Rule 3(b) of the Rules for United
States Magistrates in the United States District Court for the District of Massachusetts, any party who
objects to these findings and recommendations must file a written objection with the Clerk of this Court
within fourteen (14) days his or her receipt of this Report and Recommendation. The written objection
must specifically identify the portion of the proposed findings or recommendations to which objection is
made and the basis for such objection. Defendant is further advised that failure to comply with this rule
shall preclude further appellate review by the Court of Appeals of the District Court order entered pursuant
to this Report and Recommendation. See Keating v. Secretary of Health & Human Services, 848 F.2d
271, 275 (1st Cir. 1988); United States v. Valencia-Copete, 792 F.2d 4, 6 (1st Cir. 1986); Scott v.
Schweiker, 702 F.2d 13, 14 (1st Cir. 1983); United States v. Vega, 678 F.2d 376, 378-379 (1st Cir. 1982);
Park Motor Mart, Inc. v. Ford Motor Co., 616 F.2d 603, 604 (1st Cir. 1980). See also Thomas v. Arn, 474
U.S. 140, 154-55 (1985).
